      Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 1 of 26




                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK



H. CRISTINA CHEN-OSTER; SHANNA            No. 10-cv-6950-AT-RWL
ORLICH; ALLISON GAMBA; and MARY DE
LUIS,

                Plaintiffs,

             -against-

GOLDMAN, SACHS & CO. and THE
GOLDMAN SACHS GROUP, INC.,

                Defendants.




PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR RECONSIDERATION
OR CERTIFICATION OF AN INTERLOCUTORY APPEAL UNDER 28 U.S.C. § 1292(b)




2408327.4
       Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 2 of 26




                                                   TABLE OF CONTENTS

                                                                                                                                   Page

I.          INTRODUCTION .............................................................................................................. 1
II.         LEGAL STANDARDS ...................................................................................................... 4
III.        RECONSIDERATION OF STANDING IS NOT WARRANTED ................................... 5
            A. Absent Class Members Need Not Submit Evidence of Personal Standing. .................5
            B. The Equal Footing Doctrine Separately Supports Classwide Standing. ....................10
IV.         INTERLOCUTORY REVIEW SHOULD BE DENIED ................................................. 13
            A. Interlocutory Review of a Certification Order that Does Not Change Class
               Status Is Not Allowed.................................................................................................13
            B. Section 1292(b) Review of this Court’s Decertification Order Is Neither
               Permitted Nor Warranted. ..........................................................................................15
                  1.      Goldman Has Not Identified Any Controlling Questions of Law.....................15
                  2.      There Is Not Substantial Ground for Difference of Opinion.............................17
                  3.      Interlocutory Review Would Unnecessarily Delay—Not Materially
                          Advance—this Litigation. .................................................................................19
V.          CONCLUSION ................................................................................................................. 20




                                                                     i
2408327.4
       Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 3 of 26




                                               TABLE OF AUTHORITIES

                                                                                                                                   Page

                                                               CASES
Analytical Surveys, Inc. v. Tonga Partners, L.P.,
  684 F.3d 36 (2d Cir. 2012) ......................................................................................................... 1
Aristocrat Leisure Ltd. v. Deutsche Bank Tr. Co. Americas,
  426 F. Supp. 2d 125 (S.D.N.Y. 2005) ...................................................................................... 18
Bellino v. JPMorgan Chase Bank, N.A.,
  2017 WL 129021 (S.D.N.Y. Jan. 13, 2017) ............................................................................. 14
Capitol Records, LLC v. Vimeo, LLC,
  972 F. Supp. 2d 537 (S.D.N.Y. 2013) ...................................................................................... 15
Carpenter v. Boeing Co.,
  456 F.3d 1183 (10th Cir. 2006) ............................................................................................ 3, 13
Century Pac., Inc. v. Hilton Hotels Corp.,
  574 F. Supp. 2d 369 (S.D.N.Y. 2008) ................................................................................ 15, 17
City of Long Beach v. Total Gas & Power N. Am., Inc.,
  465 F. Supp. 3d 416 (S.D.N.Y. 2020), aff’d,
  2021 WL 5754295 (2d Cir. Dec. 3, 2021) .................................................................................. 6
Cohen v. W. Haven Bd. of Police Comm’rs,
  638 F.2d 496 (2d Cir. 1980) ....................................................................................................... 7
Connecticut v. Teal,
  457 U.S. 440 (1982) .................................................................................................................. 11
Consub Del. LLC v. Schahin Engenharia Limitada,
  476 F. Supp. 2d 305 (S.D.N.Y. 2007) .................................................................................. 5, 15
Denney v. Deutsche Bank AG,
  443 F.3d 253 (2d. Cir. 2006) ............................................................................................. passim
Dial Corp. v. News Corp.,
  314 F.R.D. 108 (S.D.N.Y. 2015) .............................................................................................. 10
Donahue v. City of Boston,
  304 F. 3d 110 (1st Cir. 2002) .................................................................................................... 12
Educ. Assistance Found. for Descendants of Hungarian Immigrants in
  Performing Arts, Inc. v. United States,
  2014 WL 12780253 (D.D.C. Nov. 21, 2014) ........................................................................... 20
Estevez-Yalcin v. The Children’s Vill.,
  2006 WL 3420833 (S.D.N.Y. Nov. 27, 2006) .......................................................................... 17
Ferring B.V. v. Allergan, Inc.,
  343 F. Supp. 3d 284 (S.D.N.Y. 2018) ...................................................................................... 14

                                                                   -ii-
2408327.4
       Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 4 of 26




                                               TABLE OF AUTHORITIES
                                                     (continued)
                                                                                                                                   Page
Fleischman v. Albany Med. Ctr.,
  639 F. 3d 28 (2d Cir. 2011) ...................................................................................... 3, 13, 14, 15
Flor v. BOT Fin. Corp.,
  79 F.3d 281 (2d Cir. 1996) ................................................................................................... 4, 18
Garber v. Off. of the Com’r of Baseball,
  120 F. Supp. 3d 334 (S.D.N.Y. 2014) ................................................................................ 3, 4, 5
Griggs v. Duke Power Co.,
  401 U.S. 424 (1971) .................................................................................................................. 11
Hart v. Rick’s Cabaret Intern., Inc.,
  73 F. Supp. 3d 382 (S.D.N.Y. 2014) ................................................................................. passim
In re Barclays Liquidity Cross & High Frequency Trading Litig.,
   2019 WL 3202745 (S.D.N.Y. July 16, 2019) ............................................................................. 5
In re Facebook, Inc., IPO Sec. & Derivative Litig.,
   986 F. Supp. 2d 524 (S.D.N.Y. 2014) ............................................................................... passim
In re Restasis Antitrust Litig.,
   335 F.R.D. 1 (E.D.N.Y. 2020) .................................................................................................. 10
Int’l Bhd. of Teamsters v. United States,
   431 U.S. 324 (1977) .......................................................................................................... 2, 7, 10
Kassman v. KPMG LLP,
  416 F. Supp. 3d 252 (S.D.N.Y. 2018) ...................................................................................... 18
Kohen v. Pacific Inv. Management Co.,
  571 F.3d 672 (7th Cir. 2009) ............................................................................................ 8, 9, 12
Kolel Beth Yechiel Mechil of Tartikov, Inc. v. YLL Irrevocable Tr.,
  729 F.3d 99 (2d Cir. 2013) ......................................................................................................... 4
Lackawanna Chiropractic P.C. v. Tivity Health Support LLC,
  2021 WL 3827733 (W.D.N.Y. Aug. 27, 2021) ................................................................ 8, 9, 12
Madera v. Rabsatt,
 2017 WL 6729452 (S.D.N.Y. Dec. 11, 2017) ........................................................................ 1, 4
Mazza v. Am. Honda Motor Co.,
 666 F.3d 581 (9th Cir. 2012) ...................................................................................................... 6
Ne. Fla. Chapter of Assoc. Gen. Contractors of Am. v. Jacksonville,
  508 U.S. 656 (1993) .................................................................................................................. 11
Nucor Corp. v. Brown,
  760 F.3d 341 (4th Cir. 2014) .................................................................................................... 13




                                                                  -iii-
2408327.4
       Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 5 of 26




                                              TABLE OF AUTHORITIES
                                                    (continued)
                                                                                                                                 Page
Ofori v. Central Parking Sys. of New York, Inc.,
  2010 WL 335498 (E.D.N.Y. Jan. 22, 2010) ............................................................................... 4
Olean Wholesale Grocery v. Bumble Bee Foods,
  No. 19-56514, Dkt. No. 186-1 (9th Cir. Apr. 8, 2022) ................................................. 10, 11, 17
Richardson Elecs., Ltd. v. Panache Broad. of Pennsylvania, Inc.,
  202 F.3d 957 (7th Cir. 2000) .......................................................................................... 3, 13, 16
Robinson v. Blank,
  2013 WL 2156040 (S.D.N.Y. May 20, 2013) ............................................................................ 7
Robinson v. Metro-N. Commuter R.R. Co.,
  267 F.3d 147 (2d Cir. 2001) ................................................................................................... 2, 7
Ruiz v. Citibank, N.A.,
  2015 WL 4629444 (S.D.N.Y. Aug. 4, 2015), aff’d, 687 F. App’x 39 (2d Cir. 2017) ................ 1
Scott v. Chipotle Mexican Grill, Inc.,
  2017 WL 4326081 (S.D.N.Y. Sept. 25, 2017).......................................................................... 14
Shea v. Kerry,
  796 F.3d 42 (D.C. Cir. 2015) .................................................................................................... 11
Stevens v. HMSHost Corp.,
   2015 WL 926007 (E.D.N.Y. Mar. 4, 2015) ................................................................................ 4
Stone v. Patchett,
  2009 WL 1544650 (S.D.N.Y. June 3, 2009) ...................................................................... 15, 16
Texas v. Lesage,
  528 U.S. 18 (1999) .......................................................................................................... 2, 11, 12
TransUnion v. Ramirez,
  141 S. Ct. 2190 (2021) ........................................................................................................ 7, 8, 9
Tucker v. Arthur Andersen & Co.,
  67 F.R.D. 468 (S.D.N.Y. 1975) ................................................................................................ 15
Tyson Foods, Inc. v. Bouaphakeo,
  577 U.S. 442 (2016) ............................................................................................................ 10, 19
United States v. City of New York,
  276 F.R.D. 22 (E.D.N.Y. 2011) .................................................................................................. 7
Wooden v. Bd. of Regents of Univ. Sys. of Ga.,
 247 F.3d 1262 (11th Cir. 2001) ................................................................................................ 12
Xuedan Wang v. Hearst Corp.,
  2013 WL 3326650 (S.D.N.Y. June 27, 2013) .......................................................................... 14




                                                                  -iv-
2408327.4
       Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 6 of 26




                                               TABLE OF AUTHORITIES
                                                     (continued)
                                                                                                                                    Page
                                                            STATUTES
28 U.S.C. § 1292(b) ............................................................................................................... passim

                                                                RULES
Fed. R. Civ. P. 23(f) ............................................................................................................... passim

                                                           TREATISES
1 Newberg on Class Actions § 2:3 ............................................................................................ 6, 10
1 Newberg on Class Actions § 3:6 .................................................................................................. 9

                                                  OTHER AUTHORITIES
Joshua P. Davis et. al., The Puzzle of Class Actions With Uninjured Members,
  82 Geo. Wash. L. Rev. 858 (2014) ............................................................................................. 6




                                                                   -v-
2408327.4
      Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 7 of 26




I.          INTRODUCTION

            Goldman, Sachs & Co. and the Goldman Sachs Group (“Goldman”) moves this Court to

reconsider the denial of Goldman’s motion for decertification, or in the alterative, to certify that

denial for interlocutory review. Dkt. No. 1337 (“Order”). Both requests should be denied.

            First, there is no reason for the Court to reconsider the Order. As the Court has observed,

“[r]econsideration ‘is not a vehicle for relitigating old issues, presenting the case under new

theories, securing a rehearing on the merits, or otherwise taking a second bite at the apple.’”

Madera v. Rabsatt, 2017 WL 6729452, at *1 (S.D.N.Y. Dec. 11, 2017) (Torres, J.) (quoting

Analytical Surveys, Inc. v. Tonga Partners, L.P., 684 F.3d 36, 52 (2d Cir. 2012)). A second—

indeed, fifth—bite at the class certification apple is exactly what Goldman seeks.1

            As to class member standing, the Court correctly held that Denney v. Deutsche Bank AG,

443 F.3d 253 (2d. Cir. 2006), which is binding authority in this Circuit, forecloses Goldman’s

argument. Order at 37. Yet Goldman continues to conflate absent class member standing with

the “distinct question” of whether class members can recover individual damages should

plaintiffs prevail on liability. See id. (rejecting this very argument). Goldman’s position is

nonsensical: it asserts that before a court may certify a class, every single class member must

demonstrate success on the merits. That would require an impermissible “fail-safe” class,2

1
  Goldman first challenged the Court’s class certification order through a request for Federal
Rule of Civil Procedure (“Rule”) 23(f) review, which the Second Circuit denied. No. 18-1075,
Dkt. No. 54 (2d Cir. Sept. 4, 2018). Goldman then sought en banc review, which the Second
Circuit also denied. Id., Dkt. No. 66 (2d Cir. Oct. 4, 2018). Goldman attacked the order a third
time through its motion for decertification, which this Court denied. Order at 45. The present
motion for reconsideration and request for interlocutory review represent Goldman’s fourth and
fifth attempts to escape this Court’s class certification analysis and ruling, respectively.
2
  A fail-safe class is a class defined not by class members’ characteristics, but by a defendant’s
liability. Among other problems, fail-safe classes destroy the very efficiencies the class action
provides by requiring each class member to litigate individual claims before allowing the case to
proceed. Ruiz v. Citibank, N.A., 2015 WL 4629444, at *7 (S.D.N.Y. Aug. 4, 2015), aff’d, 687 F.
App’x 39 (2d Cir. 2017). See also, generally, 1 Newberg on Class Actions § 3:6.

                                                     1
2408327.4
      Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 8 of 26




eliminate the efficiencies of a class action, and erase the two-phase process the Supreme Court

set forth specifically for Title VII pattern or practice cases.3 Courts have consistently rejected

Goldman’s position, finding that the potential inclusion of “uninjured class members” does not

preclude class certification but should instead be resolved in the remedial phase. Goldman

presents no compelling reason, let alone a clear error, to justify reconsideration of the Court’s

rejection of this argument.

            Goldman is also wrong that the Court erred in citing the equal footing doctrine as a basis

to reject Goldman’s standing argument. Texas v. Lesage, 528 U.S. 18 (1999), is irrelevant. As

an initial matter, Plaintiffs here do seek injunctive relief, so whether Lesage tied the equal

footing doctrine to that remedy (which is disputed) is ultimately immaterial. Moreover, Lesage

was a merits decision on a motion for summary judgment, not a standing decision (and does not

even mention standing). Finally, Lesage and its progeny are single plaintiff cases that say

literally nothing about what evidentiary showing is required from absent class members at class

certification. That question, as the Court already found, has been squarely answered in this

Circuit. See Order at 38 (citing Denney, 443 F.3d at 263). That Goldman does not like the

answer is not grounds for reconsideration.

            Second, Goldman’s attempt to inject unnecessary delay into this case through a request

for interlocutory review should be denied. There is a mechanism for non-final appellate review

of class certification decisions: Rule 23(f), not 28 U.S.C. § 1292(b). The Second Circuit already

considered and denied Goldman’s Rule 23(f) request, leaving this Court’s certification order

intact. Goldman cannot seek another round of review under Rule 23(f) because the Court’s



3
  See Int’l Bhd. of Teamsters v. United States, 431 U.S. 324 (1977) (setting forth two stages for
trial of disparate treatment claims: liability, followed by a remedial phase to determine individual
damages). Accord Robinson v. Metro-N. Commuter R.R. Co., 267 F.3d 147 (2d Cir. 2001).

                                                     2
2408327.4
      Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 9 of 26




recent Order did not alter the status of class certification. See Fleischman v. Albany Med. Ctr.,

639 F. 3d 28, 32 (2d Cir. 2011) (holding that “[a]n order that leaves class-action status

unchanged from what was determined by a prior order is not an order ‘granting or denying class-

action certification’” and is therefore not appealable) (quoting Carpenter v. Boeing Co., 456 F.3d

1183, 1191 (10th Cir. 2006)). Goldman’s attempted end-run around Rule 23(f), through section

1292(b), is improper and must be rejected. See Richardson Elecs., Ltd. v. Panache Broad. of

Pennsylvania, Inc., 202 F.3d 957, 959 (7th Cir. 2000) (“[D]istrict judges should not, and we shall

not, authorize appeal under 28 U.S.C. § 1292(b) when appeal might lie under Rule 23(f).”).

            Even if section 1292(b) were available, this is not one of the “extraordinary cases”

warranting interlocutory review because Goldman cannot meet its burden of proving a single

one—let alone all three—of the section 1292(b) requirements. Garber v. Off. of the Com’r of

Baseball, 120 F. Supp. 3d 334, 337 (S.D.N.Y. 2014). First, neither issue Goldman wants to

appeal (commonality and standing) presents a “controlling question of law,” because the Second

Circuit would not be able to decide either “without having to study the record.” In re Facebook,

Inc., IPO Sec. & Derivative Litig., 986 F. Supp. 2d 524, 536 (S.D.N.Y. 2014). Rather, both

issues involve resolution of fact-intensive arguments: as to commonality, regarding the form and

implementation of Goldman’s uniform personnel policies; and, as to standing, regarding

Goldman’s challenge to Plaintiffs’ statistical analyses, which the Court determined were

“methodologically sound.” Order at 19. Second, there is not a “substantial ground for difference

of opinion” on either issue. 28 U.S.C. § 1292(b). As to commonality, the Second Circuit has

already heard and rejected Goldman’s appellate arguments; and, as to standing, Goldman

recycles arguments that run contrary to black-letter law permitting the inclusion of uninjured

class members at class certification and the use of regression models showing average effects as



                                                     3
2408327.4
      Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 10 of 26




common evidence of a prima facie case of discrimination. Third, another trip to the Second

Circuit certainly would not “materially advance the ultimate termination of the litigation.” Id.

There is no reason to delay the trial of this case—now in its twelfth year—with another

unnecessary attempt at appellate review of class certification. Discovery is complete and

summary judgment is decided. This case is ready for trial, and should promptly be tried.

II.         LEGAL STANDARDS

            Reconsideration is an “extraordinary remedy to be employed sparingly in the interests of

finality and conservation of scarce judicial resources.” Madera, 2017 WL 6729452, at *1. “A

motion for reconsideration should be granted only when the [movant] identifies an intervening

change of controlling law, the availability of new evidence, or the need to correct a clear error or

prevent manifest injustice.” Kolel Beth Yechiel Mechil of Tartikov, Inc. v. YLL Irrevocable Tr.,

729 F.3d 99, 104 (2d Cir. 2013) (internal quotation marks omitted) (emphasis added).

            Similarly, “[i]nterlocutory appeals are presumptively disfavored” and are “appropriate

only ‘in extraordinary cases.’” Garber, 120 F. Supp. 3d at 337. See also Hart v. Rick’s Cabaret

Intern., Inc., 73 F. Supp. 3d 382, 393 (S.D.N.Y. 2014) (“[C]ertification is appropriate only when

a case presents exceptional circumstances.”). Indeed, “[t]he Second Circuit has repeatedly

emphasized that interlocutory appeals are an exception to the policy against piecemeal appellate

review, and that certification is warranted only in exceptional cases.” Stevens v. HMSHost

Corp., 2015 WL 926007, at *1 (E.D.N.Y. Mar. 4, 2015) (citing Flor v. BOT Fin. Corp., 79 F.3d

281, 284 (2d Cir. 1996) (collecting cases)). The Second Circuit has also “urged the district

courts to exercise great care in making a § 1292(b) certification because § 1292(b) is a ‘rare

exception to the final judgment rule.’” Ofori v. Central Parking Sys. of New York, Inc., 2010

WL 335498, at *2 (E.D.N.Y. Jan. 22, 2010).



                                                    4
2408327.4
       Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 11 of 26




            Section 1292(b) is “not intended as a vehicle to provide early review of difficult rulings

in hard cases.” Consub Del. LLC v. Schahin Engenharia Limitada, 476 F. Supp. 2d 305, 309

(S.D.N.Y. 2007). Rather, a court may grant interlocutory review only where all three of the

following requirements are met: (1) the “order involves a controlling question of law,” (2) “as to

which there is substantial ground for difference of opinion,” and (3) “an immediate appeal from

the order may materially advance the ultimate termination of the litigation.” 28 U.S.C. §

1292(b). The party seeking interlocutory review “bears the burden of demonstrating that all

three prongs of Section 1292(b) are met.” In re Barclays Liquidity Cross & High Frequency

Trading Litig., 2019 WL 3202745, at *1 (S.D.N.Y. July 16, 2019) (alterations omitted). This

assessment “lies squarely within the discretion of the district court,” and “even when the

elements of section 1292(b) are satisfied, the district court retains ‘unfettered discretion’ to deny

certification.” Garber, 120 F. Supp. 3d at 337.

III.        RECONSIDERATION OF STANDING IS NOT WARRANTED

            The Court’s rejection of Goldman’s standing argument was rooted in a long line of cases

holding that the potential inclusion of “uninjured class members” does not preclude class

certification, but instead should be resolved in the remedial phase of the case. The Court’s

citation to the equal footing doctrine provided an independent basis for rejecting Goldman’s

argument. In order to prevail, Goldman would have to show that both rationales for the Court’s

decision were wrong, but Goldman presents no compelling reason, let alone a clear error, to

justify reconsideration of either aspect of the Court’s decision.

            A.     Absent Class Members Need Not Submit Evidence of Personal Standing.

            Denney remains the law of this Circuit, and squarely forecloses Goldman’s call for

individualized inquiries into absent class member standing: “passive members need not make

any individual showing of standing, because the standing issue focuses on whether the plaintiff is

                                                     5
2408327.4
     Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 12 of 26




properly before the court, not whether represented parties or absent class members are properly

before the court.” Denney, 443 F.3d at 263. See also City of Long Beach v. Total Gas & Power

N. Am., Inc., 465 F. Supp. 3d 416, 443 (S.D.N.Y. 2020), aff’d, 2021 WL 5754295 (2d Cir. Dec.

3, 2021) (“Where, as here, a plaintiff sues on behalf of a putative class, the standing inquiry

looks only to the plaintiff’s own alleged injuries, and not to those of the proposed class

members.”); 1 Newberg on Class Actions § 2:3 (“If a class representative has standing, the case

is justiciable and the proponent of the class suit need not demonstrate that each class member has

standing.”) (citing cases from eleven circuits so holding).4 Goldman’s argument that every

single class member must demonstrate evidence of financial injury in order for the case to be

certified violates this well-settled, black-letter law. Order at 37.

            The class must also be “defined in such a way that anyone within it would have

standing.” Denney, 443 F.3d at 264. In other words, the class must include only individuals who

could potentially have viable claims. See Joshua P. Davis et. al., The Puzzle of Class Actions

With Uninjured Members, 82 Geo. Wash. L. Rev. 858, 866 (2014) (“Essentially, Denney makes

clear that unnamed plaintiffs have standing unless the class is defined in a way to include

members who could not possibly recover.”); cf. Mazza v. Am. Honda Motor Co., 666 F.3d 581,

594-95 (9th Cir. 2012) (citing Denney and holding that members of a class in a consumer

protection case would have Article III standing if the class were defined in a way to include only

those who were exposed to the misleading advertisements). Put another way, absent class

members lack standing only if they could not have been injured, but there is no need for them to

affirmatively show that they were injured in order for the case to be certified. Accord


4
  In class actions, only the named plaintiffs must plead individual allegations sufficient for
standing. Doe v. Blum, 729 F.2d 186, 190 n.4 (2d Cir. 1984). Here, Goldman lost its challenge
to the named plaintiffs’ standing, Dkt Nos. 479 & 539, and does not contest it now. That should
end the inquiry.

                                                   6
2408327.4
     Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 13 of 26




TransUnion v. Ramirez, 141 S. Ct. 2190, 2208 n.4 (2021) (finding that absent class members

whose credit reports were never published to third parties could not possibly have been injured,

and declining to address “the distinct question whether every class member must demonstrate

standing before a court certifies a class”) (emphasis in original).

            Here, the class is “defined in such a way that anyone within it would have standing.”

Denney, 443 F.3d at 264. As this Court correctly held, all class members have potentially viable

claims that Goldman’s challenged practices cause a disparate impact on women and that

Goldman’s knowledge of the same subjected them to disparate treatment. Order at 37-38.

Specifically: if Goldman is found liable at Phase I of trial, class members enter the remedial

Phase II with a presumption of entitlement to make-whole relief (both monetary and equitable),

which Goldman may rebut. Robinson, 267 F.3d at 161; Cohen v. W. Haven Bd. of Police

Comm’rs, 638 F.2d 496, 502 (2d Cir. 1980); United States v. City of New York, 276 F.R.D. 22,

34 (E.D.N.Y. 2011). In that remedial phase, some class members may be found not to have

suffered monetary injury, in which case they will not recover monetary damages. This is the

long-established Title VII framework defined by the Supreme Court in Teamsters.5

            The Court was therefore correct in holding that the potential inclusion of “uninjured”

class members is a merits issue, not a standing issue. See Order at 37 (“Defendants appear to

conflate these two separate inquiries.”).6 Other courts have addressed this same argument and

5
  See also Robinson v. Blank, 2013 WL 2156040, at *5 (S.D.N.Y. May 20, 2013) (noting that
Title VII provides “broad equitable powers . . . to provide victims . . . with complete relief”)
(citation and internal quotations omitted).
6
  This is true for all class members, including the eight percent Goldman claims received a top
manager quartile in all years. Dkt. No. 1347 (“Br.”) at 3, 7; Dkt. No. 1236-57, ¶ 288. In any
event, as set forth in Plaintiffs’ decertification opposition, women who receive top scores still
earn less and are promoted less often than their male counterparts. Dkt. No. 1267 at 10-11.
Separately, Goldman’s argument regarding the inclusion of “uninjured” private wealth advisors
(PWAs) is foreclosed by its own conduct. Br. at 3, 7. Goldman sought to exclude PWAs on the
basis of an arbitration term in the PWA agreement. Judge Lehrburger granted this request in

                                                     7
2408327.4
     Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 14 of 26




rejected it for this same reason—as recently as last year. For example, in Lackawanna

Chiropractic P.C. v. Tivity Health Support LLC, decided after TransUnion, a court was faced

with a motion to approve a settlement class consisting of all persons who had received a fax from

Tivity Health recruiting health providers to join the Tivity network. 2021 WL 3827733, at *1

(W.D.N.Y. Aug. 27, 2021). The magistrate judge recommended denying class certification

because some members of the class might have consented to receive such faxes from Tivity, and

thus were not injured. Id. at *2. The district court, however, held that “this reasoning conflates

two overlapping and related—but distinct—issues: standing and the merits of the case.” Id. The

court reasoned that consent was a defense that Tivity would be entitled to raise if the case were

litigated, and plaintiff could rebut it. Id. Thus, the consent defense did not go to whether

plaintiff adequately alleged class injury, but to whether certain class members had a valid claim

on the merits. Id. at *3. The court went on:

                   [T]o find that the class has Article III standing in connection with
                   the proposed settlement, the Court need not weigh in on that dispute.
                   The fact that Tivity might potentially succeed in litigation against
                   some proposed class members . . . does not mean that those members
                   of the proposed settlement class lack standing.

Id. Finally, the court affirmed that “TransUnion does not suggest otherwise.” Id. at *5.

            Similarly, in Kohen v. Pacific Inv. Management Co., the certified class consisted of all

persons who purchased a short position in ten-year treasury notes during a specified date range.

571 F.3d 672, 674 (7th Cir. 2009). At the Seventh Circuit, the defendant argued that class

certification was improper because the class included absent class members who lacked standing




March 2020 (Dkt. No. 983), which this Court affirmed in September 2021 (Dkt. No. 1264). In
January 2022, Judge Lehrburger approved a notice, sent in February, informing all PWAs that
they are no longer class members. Dkt. No. 1317. Goldman’s “uninjured PWA” argument is
therefore moot.

                                                     8
2408327.4
     Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 15 of 26




because they did not actually lose money. Id. at 676.7 Judge Posner rejected the argument that

district courts must determine which class members were injured in order to certify a class,

because “putting the cart before the horse in that way would vitiate the economies of class action

procedure; in effect the trial would precede the certification.” Id. Citing Denney with approval,

Judge Posner further explained that the class definition must not “sweep[] within it persons who

could not have been injured by the defendant’s conduct,” but “a class will often include persons

who have not been injured by the defendant’s conduct . . . [s]uch a possibility or indeed

inevitability does not preclude class certification.” Id. at 677 (emphasis added). Thus, before

and after TransUnion, the analysis has remained consistent.

            As this Court therefore correctly recognized, Goldman’s argument that Plaintiffs have not

proven that each individual class member was damaged—because Dr. Farber’s regression model

is proof of average effects, not individual damages—mistakenly conflates standing with a merits

issue for the remedial phase, just as in Lackawanna and Kohen. Order at 37.8 Dr. Farber’s

model is common evidence from which the trier of fact may find Goldman liable for disparate

impact and disparate treatment. In fact, if Goldman were correct that the Court may not certify a

class absent evidence that every single class member suffered monetary harm from the

challenged policies, class certification would become a trial on the merits for every class

member, destroying the very purpose of the class action mechanism. Rather, the inclusion of

some uninjured class members “is generally unproblematic as the non-injured parties can just be



7
  For example, some members of the class may have hedged their bets by purchasing both short
and long positions and may have ultimately made more money on the long positions than they
lost on the short positions. Kohen, 571 F.3d at 676.
8
  Nor would it help to change the class definition such that it included only those class members
who, in fact, suffered monetary injury from discrimination, as that would amount to an
impermissible “fail-safe” class. See supra n.2.

                                                    9
2408327.4
     Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 16 of 26




sorted out at the remedies phase of the suit.” 1 Newberg on Class Actions § 2:3 (citing cases).9

As this Court noted, a Title VII class action under the Teamsters framework is ideally suited for

this purpose due to the bifurcation between liability and remedial phases where “Phase II shall

address issues affecting individual class members.” Order at 13, n.9.10 See also Tyson Foods,

Inc. v. Bouaphakeo, 577 U.S. 442, 461 (2016) (affirming certification of class under FLSA that

contained over 200 uninjured members and noting that damages may be apportioned in remedial

phase so that only injured members recover). To accept Goldman’s argument would be to erase

Phase II—and Teamsters and Tyson, which are binding Supreme Court precedent—entirely.

            In sum, the Court correctly held that Goldman’s argument conflates standing with

merits, and that the class here is defined in such a way that all members have standing because

all were subject to allegedly discriminatory policies and all have potentially viable claims. Order

at 37-38. Goldman presents no reason for the Court to reconsider this decision.

            B.     The Equal Footing Doctrine Separately Supports Classwide Standing.

            The Court’s analysis of the equal footing doctrine likewise provides no basis for

reconsideration. The Court simply cited good equal protection law that offers an alternative way

9
  See also In re Restasis Antitrust Litig., 335 F.R.D. 1, 16 (E.D.N.Y. 2020) (“The Supreme Court
and the Second Circuit have recognized that the existence of uninjured plaintiffs does not bar
class certification.”); Dial Corp. v. News Corp., 314 F.R.D. 108, 120 (S.D.N.Y. 2015) (same);
Olean Wholesale Grocery v. Bumble Bee Foods, No. 19-56514, Dkt. No. 186-1 (“Olean Order”)
(9th Cir. Apr. 8, 2022) at 30 (holding that “a district court is not precluded from certifying a class
even if plaintiffs may have to prove individualized damages at trial” and rejecting the argument
that “Rule 23 does not permit the certification of a class that potentially includes more than a de
minimis number of uninjured class members”).
10
   Goldman is wrong, again, that this Title VII case is “highly unusual” under the Teamster’s
framework because there is no Rule 23(b)(2) class. Br. at 13. Phase I is not “typically” for
litigating entitlement to injunctive relief. It is for litigating liability. As Plaintiffs previously
explained, Teamsters set forth the governing framework for trial of disparate treatment claims,
regardless of the type of relief sought—damages, injunction, or (like here) both. Dkt. No. 1267
(Pl. Opp. to Decert.) at 24-26. In Teamsters, the government sought both types of relief, and the
opinion explicitly addresses what is required when class members are entitled to make-whole
relief (i.e., damages) after the liability phase of the case. 431 U.S. at 361.

                                                    10
2408327.4
     Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 17 of 26




of thinking about whether the class is “defined in such a way that anyone within it would have

standing.” Denney, 443 F.3d at 264. Lesage—a single plaintiff case decided on the merits, and

not on standing—does not hold otherwise.

            As the Court recognized, in the equal protection context a plaintiff has standing to

challenge a discriminatory policy if it “prevented [the plaintiff] from competing on an equal

footing.” Order at 38. Importantly, the plaintiff need not show that she “would have obtained a

benefit but for the barrier.” Id. (quoting Ne. Fla. Chapter of Assoc. Gen. Contractors of Am. v.

Jacksonville, 508 U.S. 656, 666-67 (1993)). See also Connecticut v. Teal, 457 U.S. 440, 450

(1982) (“In considering claims of disparate impact under [Title VII], this Court has consistently

focused on employment and promotion requirements that create a discriminatory bar

to opportunities.”); Griggs v. Duke Power Co., 401 U.S. 424, 431 (1971) (“What is required by

[Title VII] is the removal of artificial, arbitrary, and unnecessary barriers to employment when

the barriers operate invidiously to discriminate on the basis of racial or other impermissible

classification.”); see also Shea v. Kerry, 796 F.3d 42, 50 (D.C. Cir. 2015) (“In the context of an

employment discrimination claim, a plaintiff may claim an injury in fact from the purported

denial of the ability to compete on an equal footing against other candidates for a job.”).

            Goldman now argues that the Court was incorrect because under Lesage, the equal

footing doctrine cannot confer standing in cases seeking only monetary damages. This is wrong

for at least three reasons. First, Goldman’s interpretation of Lesage is irrelevant because

Plaintiffs here do seek injunctive relief, on behalf of themselves11 and the class, as to all


11
  Goldman conveniently overlooks the fact that the Court already held that the named plaintiffs
have standing to seek injunctive relief. Dkt. No. 479 (Order Den. Mot. to Dismiss) at 5-11. That
should end the inquiry because “the standing issue focuses on whether the plaintiff is properly
before the court, not whether represented parties or absent class members are properly before the
court.” Denney, 443 F.3d at 264.

                                                    11
2408327.4
     Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 18 of 26




challenged practices. See Dkt. No. 1267 (Pl. Opp. to Decert.) at 24-26 (explaining that

injunctive relief is an available remedy under Title VII in a Rule 23(b)(3) case, and that the Court

may enjoin the 360 review and manager quartile even though it did not injure the class in certain

years because Goldman continues to use the practices).12 Second, even if this were a damages-

only case, Lesage does not preclude the application of the equal footing doctrine to the standing

analysis here. In fact, Lesage does not even address “standing” at all; it was a merits decision on

summary judgment—the word “standing” does not appear even once in the opinion. The lower

courts applying Lesage have therefore disagreed as to whether it means that the denial of equal

footing is not a cognizable injury in a damages case. Compare Donahue v. City of Boston, 304

F. 3d 110 (1st Cir. 2002) with Wooden v. Bd. of Regents of Univ. Sys. of Ga., 247 F.3d 1262

(11th Cir. 2001). Third, and perhaps most importantly, Lesage is a single plaintiff case that has

no bearing on the standing of absent class members. Lesage and its progeny addressed solely the

claims of individual plaintiffs, not those of absent class members. Lesage, 528 U.S. at 19;

Donahue, 304 F.3d at 119. By contrast, as the authorities set forth in Section III.A above make

crystal clear, absent class members are not required to prove that they will win on the merits

before a class can be certified.

            Accordingly, the Court was correct in finding that the class here has standing. All class

members have potentially viable claims because they were all subjected to the allegedly unlawful

practices, and that is all that the law requires. Denney, 443 F.3d at 264; Lackawanna, 2021 WL

3827733 at *3; Kohen, 571 F.3d at 677. The Court need not rely on the equal footing doctrine to

reach this conclusion, though ample precedent supports its application in Title VII cases.13

12
   In denying decertification, the Court also already held that Goldman is “incorrect” that
Plaintiffs “abandoned” injunctive relief. Order at 37 n.23.
13
   Highlighting the flimsiness of Goldman’s request for reconsideration, even if the Court
credited Goldman’s arguments regarding Lesage, this would not require reconsideration of the

                                                    12
2408327.4
      Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 19 of 26




IV.         INTERLOCUTORY REVIEW SHOULD BE DENIED

            Goldman already sought and was denied interlocutory review of this Court’s class

certification order through the appropriate channel: Rule 23(f). Goldman is thus foreclosed

from further appellate review of class certification. To maneuver around this roadblock,

Goldman repackages its attack on the Court’s certification analysis as a request under section

1292(b). But section 1292(b) is not an available vehicle for review of class certification

decisions, and even if it were, Goldman does not meet a single one of the section 1292(b)

requirements. Goldman’s attempt to further delay this case through another unwarranted

appellate review of class certification should therefore be denied.

            A.     Interlocutory Review of a Certification Order that Does Not Change Class
                   Status Is Not Allowed.

            Following the Court’s class certification order, Goldman sought and was denied

interlocutory review via Rule 23(f). See No. 18-1075, Dkt. No. 54 (2d Cir. Sept. 4, 2018)

(finding after oral argument that “the Rule 23(f) petition for leave to appeal is DENIED because

an immediate appeal is unwarranted”), rehr’g en banc denied, Dkt. No. 66 (2d Cir. Oct. 4, 2018).

            There is no basis under either Rule 23(f) or section 1292(b) for another appellate review

of this Court’s class certification analysis. Because the Order was not “an order granting or

denying class-action certification,” another appeal under Rule 23(f) is not permitted.

Fleischman, 639 F. 3d at 30-32; Carpenter, 456 F.3d at 1191 (same); Nucor Corp. v. Brown, 760

F.3d 341, 343 (4th Cir. 2014) (same). Goldman is also foreclosed from further appellate review

under section 1292(b) instead of Rule 23(f). See Richardson, 202 F.3d at 959 (“[W]hen a class-

certification order is an arguable candidate for a Rule 23(f) appeal, the appellants may not use


entire Order because the remainder of the Court’s standing analysis clearly follows Denney and
is not implicated by Goldman’s mischaracterization of Lesage. To be clear, however, Plaintiffs
maintain there is no error in the Order.

                                                    13
2408327.4
     Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 20 of 26




section 1292(b) to circumvent . . . Rule 23(f).”). Goldman’s fifth and improper attempt to undo

the Court’s class certification decision therefore should not be entertained.

            Goldman’s suggestion that courts “routinely certify” class certification issues under

section 1292(b) is not supported by any of the cases Goldman cites. Br. at 15. Two of the

cases—Ferring B.V. v. Allergan, Inc., 343 F. Supp. 3d 284 (S.D.N.Y. 2018) and Bellino v.

JPMorgan Chase Bank, N.A., 2017 WL 129021 (S.D.N.Y. Jan. 13, 2017)—were not class action

decisions at all. And the third—Xuedan Wang v. Hearst Corp., 2013 WL 3326650 (S.D.N.Y.

June 27, 2013)—involved a FLSA collective, which is not a Rule 23 action and therefore not

appealable under Rule 23(f).14 What Goldman is attempting here, in contrast, is precisely what

the Second Circuit has cautioned that Rule 23(f) is designed to prevent: “disruption and delay”

to lower court proceedings. Fleischman, 639 F.3d at 31. Indeed, while in Fleischman the

Second Circuit rejected an attempt to bring “an interlocutory appeal more than eighteen months

after the original decision by the district court to certify the class,” here Goldman attempts more

than forty-eight months after this Court’s original decision to certify the class. Id. (emphasis in




14
   See Scott v. Chipotle Mexican Grill, Inc., 2017 WL 4326081, at *1 (S.D.N.Y. Sept. 25, 2017)
(permitting section 1292(b) appeal not of the court’s Rule 23 ruling, but of the court’s FLSA
ruling, because “the Second Circuit’s review under Rule 23(f) would not likely encompass the
portion of this Court’s decision decertifying the Section 216(b) [FLSA] collective action”).
Indeed, Goldman cites Scott elsewhere in its brief for the proposition that “class certification
decisions have the potential to materially advance the ultimate termination of the litigation,” Br.
at 18, but ignores that the Scott plaintiffs correctly sought review of the court’s Rule 23 decision
under Rule 23(f), which the Second Circuit accepted. Scott, 2017 WL 4326081, at *1. However,
the district court had to separately consider whether to certify the court’s decertification of
plaintiffs’ FLSA collective under section 1292(b), because that ruling was not subject to Rule
23(f) review. Id. Here, however, there is no FLSA cause of action and no separate
decertification decision to consider.

                                                    14
2408327.4
     Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 21 of 26




original). Permitting this would, in the Second Circuit’s own words, “leave Rule 23(f)’s

deadline toothless.” Id.15

            Interlocutory review of an order denying decertification would therefore be appropriate

only if that order changed the “class-action status” of a case. Fleischman, 639 F.3d at 32.

Because this Court’s decertification Order did not change the class action status of this case, the

Order cannot be the subject of interlocutory review.16

            B.     Section 1292(b) Review of this Court’s Decertification Order Is Neither
                   Permitted Nor Warranted.

            Even if 1292(b) review were permitted here, Goldman’s request fails each of the statute’s

requirements and should therefore be denied for this additional reason.

                   1.      Goldman Has Not Identified Any Controlling Questions of Law.

            A “controlling” question for the purposes of section 1292(b) is one that is “pure” and one

that the appellate court can decide “quickly and cleanly without having to study the record.”

Century Pac., Inc. v. Hilton Hotels Corp., 574 F. Supp. 2d 369, 371 (S.D.N.Y. 2008) (internal

quotation marks omitted). See also Capitol Records, LLC v. Vimeo, LLC, 972 F. Supp. 2d 537,

551 (S.D.N.Y. 2013) (same); In re Facebook, 986 F. Supp. 2d at 536 (same); Rick’s Cabaret, 73

F. Supp. 3d at 393 (same); Consub, 476 F. Supp. at 309 (same); Stone v. Patchett, 2009 WL

1544650, at *2 (S.D.N.Y. June 3, 2009) (same).17 Both issues Goldman identifies—involving



15
   The only other authority Goldman cites in support of its delayed attempt at interlocutory
review—Tucker v. Arthur Andersen & Co., 67 F.R.D. 468 (S.D.N.Y. 1975)—predated Rule 23(f)
by more than twenty years.
16
   Though the Court granted summary judgment as to disparate impact from the 360 review and
quartiling processes after 2015, Order at 57, the Order was not one either “granting or denying
class certification,” and is therefore not subject to non-final review. Fleischman, 639 F.3d at 32.
The Order also did not change the class definition in any way. Id.
17
   Issues that “would require the Court of Appeals to consider mixed questions of law and fact”
are therefore not certifiable under section 1292(b). Century Pac., 574 F. Supp. 2d at 371. See

                                                    15
2408327.4
     Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 22 of 26




this Court’s commonality and standing analyses—fail this test because both would require the

Second Circuit to review the evidentiary record in this case.

            As to commonality, the decision whether “individual reviewers exercised significant

discretion in conducting all three challenged evaluation processes,” Br. at 4, is inherently factual

in nature. The Court’s commonality ruling is a classic example of applying the law (Rule 23) to

the facts (Goldman’s challenged personnel policies). Indeed, the parties have dedicated

hundreds of pages of briefing, and many hundreds of additional pages in exhibits, deposition

testimony, and expert analyses to just this question over the last eight years.18 The Second

Circuit would have to study all of this to determine whether this Court was correct in

concluding—not once, but twice—that “certification was warranted because Plaintiffs had

demonstrated that Defendants had employed a ‘common mode of exercising discretion,’ through

the three processes.” Order at 4 (quoting Class Cert. Order at 24-28, 41). Exactly this question

has been held to be inappropriate for interlocutory review outside of Rule 23(f). See Richardson,

202 F.3d at 958 (holding that the Rule 23 determination of whether common questions

predominate is “rather too fact-specific to be suitable for a 1292(b) appeal”); cf. supra, § IV.A.

            As to standing, Goldman challenges the analysis of Plaintiffs’ expert economist Dr.

Farber, including with repeated (and misleading) citations to Dr. Farber’s deposition testimony.

Br. at 2, 3, 4, 7, 13, 16. Goldman makes clear that its standing argument is made “in light of Dr.

Farber’s testimony,” id. at 3, which Goldman mischaracterizes as a confession that certain class

members were not injured, id. at 2, 13. And Goldman attempts to buttress this attack with

citations to its own expert’s analyses. Id. at 3, 7. This Court considered each of these


also Capitol Records, 972 F. Supp. 2d at 551 (same); In re Facebook, 986 F. Supp. 2d at 536
(same); Rick’s Cabaret, 73 F. Supp. 3d at 393 (same); Stone, 2009 WL 1544650, at *2 (same).
18
   Dkt. Nos. 247, 264, 310 (Class Cert.); Dkt. Nos. 502, 511, 513, 514, 522, 525 (Objs. to Class
Cert. R&R); Dkt. Nos. 1235, 1267, 1307 (Decert.).

                                                   16
2408327.4
     Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 23 of 26




arguments—as well as the dozens of pages of briefing and hundreds of pages of expert analyses

that they sit atop—and concluded that Dr. Farber had a “valid, reasonable explanation for his

modeling decision,” Order at 14, therefore accepting his “multiple regression analyses that

looked at the way [the challenged] policies affected compensation by gender” as common proof

of disparate impact, id. at 13. That determination was not one of “pure law,” Century, 574 F.

Supp. at 372, but in fact involved a great deal of factual analysis that would be afforded great

deference.19 It is therefore “not appropriate for interlocutory review.” Id. Moreover,

interlocutory review of this Court’s standing decision is inappropriate for the additional reason

that the Court cited not one, but two bases—Denney and the equal footing doctrine—for

rejecting Goldman’s argument. See Rick’s Cabaret, 73 F. Supp. 3d at 393 (“A question is not

controlling if Plaintiffs have independent and alternative grounds for pursuing their claims.”)

(internal quotation marks omitted).

            Because review of this Court’s commonality and standing rulings would involve

“application of the appropriate law to the relevant facts,” neither issue is “suitable for

certification under § 1292(b).” In re Facebook, 986 F. Supp. 2d at 536.

                   2.      There Is Not Substantial Ground for Difference of Opinion.

            Goldman likewise fails to identify a “substantial difference of opinion as to any question

of law” raised in its application. Estevez-Yalcin v. The Children’s Vill., 2006 WL 3420833, at *4

(S.D.N.Y. Nov. 27, 2006). Rather, Goldman is “merely quibbling with this Court’s application

of the facts to the law, not with the underlying legal rule, which is necessary if this Court is to

certify an immediate appeal.” Id. Instead, Goldman must either identify “conflicting authority

19
  See Olean Order at 18-19 (“[W]e review the district court’s determination that a statistical
regression model, along with other expert evidence, is capable of showing class-wide impact,
thus satisfying one of the prerequisites of Rule 23(b)(3) of the Federal Rules of Civil Procedure,
for an abuse of discretion.”).

                                                    17
2408327.4
     Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 24 of 26




on the issue,” or demonstrate that “the issue is particularly difficult and of first impression for the

Second Circuit.” In re Facebook, 986 F. Supp. 2d at 539. Notably, while the legal principles are

settled here, “the mere presence of a disputed issue that is a question of first impression, standing

alone, is insufficient to demonstrate a substantial ground for difference of opinion.” Rick’s

Cabaret, 73 F. Supp. 3d at 396 (quoting In re Flor, 79 F.3d 281, 284 (2d Cir. 1996)).

            As to commonality, Goldman has been quibbling with the Court’s analysis for more than

four years. Goldman first objected that the Court misapplied Wal-Mart in April of 2018, and has

since repeated that argument multiple times—including unsuccessfully before the Second

Circuit.20 The only “difference of opinion” here is between Goldman and the Court. Because

the “mere claim that a district court’s decision was incorrect does not suffice to establish

substantial ground for a difference of opinion,” Goldman’s request must be rejected. Aristocrat

Leisure Ltd. v. Deutsche Bank Tr. Co. Americas, 426 F. Supp. 2d 125, 129 (S.D.N.Y. 2005).

            As to standing, this argument fails for the same reasons reconsideration is not warranted.

The legal principles are settled, and the Court applied them correctly to the facts of this case.

As discussed, the Second Circuit has definitively held that absent class members need not make

an individual showing of injury at class certification, Denney, 443 F.3d at 263, and there is


20
   Compare No. 18-1075, Dkt. No. 1 (2d Cir. Apr. 13, 2018) at 11 (“Wal-Mart bars the District
Court’s ruling that Goldman Sachs’ subjective and decentralized evaluation processes constituted
a ‘common mode’ of exercising discretion.”) with Br. at 4 (“[I]ndividual managers and cross-
ruffers conducted highly discretionary reviews of employees in vastly different jobs, thus
precluding certification under Wal-Mart.”); compare Dkt. No. 1235 (Mot. for Decert., July 23,
2021) at 28 (“As Judge Schofeld explained in Kassman v. KPMG LLP, ‘relative freedom . . .
extended to local supervisors’ in the application of employment processes and a ‘lack of rigid
criteria to channel [their] discretion . . . all dictate the conclusion that there was no common
mode of exercising discretion that would warrant class certification after [Wal-Mart].’”) with Br.
at 19 (“In Kassman v. KPMG LLP, 416 F. Supp. 3d 252, 280-81 (S.D.N.Y. 2018) (Schofield, J.),
a court in this District denied class certification to a class of employees with diverse jobs based
on the ‘relative freedom . . . extended to local supervisors’ and the ‘lack of rigid criteria to
channel [their discretion].’”).

                                                    18
2408327.4
     Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 25 of 26




universal agreement not just in the Second Circuit, but nationwide, that the possibility of

uninjured class members is not a basis to deny class certification, Tyson, 577 U.S. at 461. See

also supra Section III.A (collecting other cases and authorities). Thus, Goldman fails to identify

the requisite conflicting authority or particularly difficult and novel issue.

                   3.     Interlocutory Review Would Unnecessarily Delay—Not Materially
                          Advance—this Litigation.

            Even if Goldman were able to identify a controlling question for which there is

substantial ground for difference of opinion, Goldman fails the third requirement of interlocutory

review, that immediate appeal would “materially advance the ultimate termination of the

litigation.” 28 U.S.C. § 1292(b). To satisfy this factor, Goldman must demonstrate that

interlocutory review “promises to advance the time for trial or to shorten the time required for

trial.” In re Facebook, 986 F. Supp. 2d at 531. Without question, Goldman cannot.

            Goldman is transparent about its aim: to avoid “prepar[ing] for and conduct[ing]

extensive and costly trial proceedings in this case.” Br. at 1. But the fact that a party does not

want to try a case is no basis to delay that trial. And even if Goldman were successful in

narrowing the class before trial to include only women who were monetarily damaged by the

policies (i.e., in advance of the remedial phase, instead of through the remedial phase), this

would have no effect on the liability phase of trial. In other words, with summary judgment now

decided, trial is happening in this case regardless of whether it is for the named plaintiffs, the

certified class, or some improper fail-safe class, and any version of that liability trial will rely

upon the same evidence. See Educ. Assistance Found. for Descendants of Hungarian

Immigrants in Performing Arts, Inc. v. United States, 2014 WL 12780253, at *2 (D.D.C. Nov.

21, 2014) (“[C]ertification is . . . inappropriate, ‘where, as here, regardless of the outcome of

interlocutory appeal, trial of the case would still have to occur to reach the litigation’s ultimate


                                                   19
2408327.4
     Case 1:10-cv-06950-AT-RWL Document 1354 Filed 04/27/22 Page 26 of 26




termination.’”) (citation omitted). The only thing an interlocutory appeal would accomplish is

further delay of justice.

V.          CONCLUSION

            For the reasons set forth above, Plaintiffs respectfully request that the Court deny both

Goldman’s motion for reconsideration and Goldman’s request for interlocutory review.



 Dated: April 27, 2022                  By:
                                                /s/ Anne B. Shaver

                                        Kelly M. Dermody (admitted pro hac vice)
                                        Anne B. Shaver (admitted pro hac vice)
                                        Michael Levin-Gesundheit (admitted pro hac vice)
                                        Michelle A. Lamy (admitted pro hac vice)
                                        LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
                                        275 Battery Street, 29th Floor
                                        San Francisco, CA 94111-3339
                                        Telephone: (415) 956-1000
                                        Facsimile: (415) 956-1008

                                        Rachel Geman
                                        Jessica A. Moldovan
                                        LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
                                        250 Hudson Street, 8th Floor
                                        New York, NY 10013-9592
                                        Telephone: (212) 355-9500
                                        Facsimile: (212) 355-9592

                                        Adam T. Klein
                                        Cara E. Greene
                                        Christopher M. McNerney
                                        Michael C. Danna
                                        Sabine Jean
                                        Maya S. Jumper
                                        OUTTEN & GOLDEN LLP
                                        685 Third Avenue, 25th Floor
                                        New York, NY 10017
                                        Telephone: (212) 245-1000
                                        Facsimile: (646) 509-2060

                                        Class Counsel


                                                     20
2408327.4
